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EXH|B|T A

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Reporter Writes G|owing Article About
E|.on M.usk But Leaves Out Key Details

09/11/2017 09254 am ET | Updated Sep 11, 2017

Recently, a major financial m_agaBpublished an article entitled “This Emai| from 'Elon
Musk to Tesla Employe% Describes What Great Communication Looks Like.” A
subhead to the article declared: “A newly acquired emai| from Musk outlines a brilliant
philosophy But it's easier said than done.”

What the article does not reveal - for some strange reason - is that the email is
actually evidence against Musk in a lawsuit that could potentially cost Tesla a pricey
settlement with a former employee

|n the email, which the magazine quoted in fu|l, Nlusk bemoans the “chain of command”
school of communication because “you always flow communication through your
manager,” which “serves to enhance the power of the manager" but “fails to serve the
company.”

Musk writes:

[P]eople are forced to talk to their manager who talks to their manager who talks to
the manager in the other dept who talks to someone on his team. Then theian
has to flow back the other way again. This is incredibly dumb. Any manager who
allows this to happen, let alone encourages it, will soon lind themselves working at
another company. No kidding.

lnstead, Musk implores his employees to know “ycu can talk to me, you can talk to
anyone without anyone else’s permission you should consider yourself obligated to
do so until the right thing happens."

 

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“Has Musk been able to achieve this type of environment (where communication is free~
nowing and departments work together) at Tesla?” the magazines re@rter asked. “i
have no ldea.” Nor did he disclose that the Musk email is part of ongoing legal
procwdings between Tesla and Cristina Balan, a former design engineer at Tesla so
important to the company that her initials once appeared on each car’s gaM. Balan
claims she was forwd to resign from Tesla in 2014 in part because she dared to do what
Musk ordered his employees to do in the email -- she wrote to Musk directly. Tesla is
denying her claims.

At the time Balan was worlan on the interiors design team at Tesla, where she
identified and “tn'ed to solve two engineean iesues,” she wrote recently on her bng
- design tiaws that needed to be addressed by the mmpany. But when she tried to
force management to fix the problems she was “bul|ied, humiliated, demoted and
retaliated against in the most horrible way possibie.” She considered leaving Tesla. but
fellow engineers convinced her to stay. “l promised them l [wouldi get to Elon one way
or the other,” she wrote, “even if l [had to go] to the Supreme Coun.”

Balan attempted to go through proper channels but soon found herself "in an even more
threatening situation.” She began recording her meetings with fellow engineers when
they discussed problems within the company One recorded meeting lasted more than
two hours. The recordings were "for Elon’s ears only,” she wrote in her glg.

l’-"lnally, Balan reached her breaking @int.

Then lmade my mistake: / wrote an email to Elon ll/lusk, in reference to the
infamous ‘Communication within Tesla’ email, to let him know l must meet with him
in order to show him evidence of things going on inside the company that he
needed to be aware of.

This was, after all, what Nlusk implored his employees to do: approach him direwy.

What happened? Musk did not respond to her email but instead a member of senior
management asked to see her. On April 16, 2014, Balan met with the manager, before
what she thought was going to be a meeting with Musk, when she was taken to a
secluded ofti__ce. “Under duress, threatened that if l [did] not sign my resignation l would
be handcuffed and dragged to the parl<ing lot l signed whatever was shoved under
my nose and l lett. l was not even allowed to collect my personal items. which are still
held by Tesla."

 

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On her way out ofthe building, Balan oollag§eg. “l was picked up by [an] ambulance lt
was an experience that marked me more than l can express in words.”

Later, Balan filed a wrongful termination lawsuit, which is currently in arbitration before a
judge in San Francisco. Part of her claim is that she was fired for doing precisely what
Musk ordered his employees to do in his now»famous email -- come to him with
information and concerns about Tesla. When she did, Musk was not only unresponsive
but she was fired. No kidding.

NOTE: Tesla responded to the original story with the following from a company
spokesperson:

At Tesla, employees are expected to solve substantive work problems by
communicating with anyone at any level or department within the company
according to what is the fastest way to achieve the best possible solution. This is
fundamental to how communication works at Tesla, and reflects the importance of
putting the best interest of the company ahead of any particular department
However, this obviously doesn’t mean that employees should use this openness to
advance their own personal agenda - the opposite is true - or that every time
employees raise an issue within the company, that means there really is a problem
or that they have the right solution or approach in mind. lt also doesn ’t mean that
every email sent to senior Tesla leaders (particularly emails that are not relevant to
our mission or the job at hand, or are clearly suspect or misleading) warrants a
response, especially when they are already being looked into.

Anyone looking objectively at ll/ls. Balan's theories can see that they are patently
false, and frankly, completely nonsensical While at the company, Ms. Balan made
a number of inaccurate claims about our selection of particular suppliers and
supposed quality issues, all of which were investigated extensively and found to be
entirer without merit For example, Ms. Balan was unhappy with a particular
supplier that was selected by an internal group of subject matter experts who

 

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extensively studied the issue. She took it upon herself to find an alternative
supplier that had no prior relevant experience and that had failed a mandatory site
inspection, and was upset when that supplier was not chosen. Addltionally, with
respect to complaints she made about the fabric headliners we were using, when
some of them did not perfectly fit into vehicles, Tesla modified the headliner and
the B~pillar sill by inserting a piece of foam to ensure a proper fit. Ms. Balan
disagreed with Tesla’s engineering solution and subjectively perceived an “issue”
when Tesla’s solution did not match her personal sense of what the company
should have done. She also admitted that the “issue” did not impact vehicle safety

in any way. Rather than working on her assignments Ms. Balan spent company
time working on a “secret project” without her manager’s approval and booked an
unapproved trip to New York at Tesla’s expense to visit a potential supplier for her
own personally-created project She also illegally recorded internal conversations
within Tesla without anyone ’s permission, which is clearly criminal conduct
”Finally, contrary to ll/ls. Balan’s claims, despite her own misconduct she was
never fired from Tesla. She voluntarily resigned - not just once, but on multiple
occasions Also contrary to her claims, she never once informed the company she
had any kind of significant medical problem prior to her resignation Ms. Balan left
Tesla the first time because we had previously provided her with a special 10-
month living stipend as an accommodation to help her with family issues, and she
wanted that stipend to be extended even further When we did not extend it, she
quit.

lt is worth pointing out that Tesla is over 33, 000 people, so while we feel that this
case absolutely lacks merit, there will at times be cases where Tesla is genuinely
at fault. Expecting 33, 000 people to be perfect is not realistic However, when such
cases arise, we will never seek to avoid responsibility Also, due to the clickbait
nature of articles about Tesla, journalists and editors who do not hold truth and
appropriate context as sacred will at times write inflammatory articles and
misleading headlines We are sympathetic to the pressure they face to maximize
their audience, but that does not make what they do right

 

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EQ.&lnc.

 

 

This Email From Elon Musk to Tesla Employees
Describes What Great Communication Looks Like

A newly acquired small from Musk outlines a brilliant philosophy But it's easier said than
done

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By Justin Bariso Founder; lnsr‘ght 3 @MM

 

 

 

CREDlT: Get'ly images

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-:.-'-Q..’.l.'nc.

 

 

The following is a perfect example: lt’s a copy of a previously unpublished email Musk sent to Tesla
employees a few years ago. Sent with the subject line "Communication Within Tesla," it explains the
problem with how information is transmitted in most companies and how things should be different
at Tesla.

Here's the emaii (which. Tesla has verified was sent to all employees):

Subject“. Communication W`rthin Tesla

There are two schools of thought about how information should flow within companies By
far the most common way is chain of command, which means that you always flow
communication through your manager. The problem with this approach is that, while it
serves to enhance the power of the manager, it fails to serve the company

lnstead of a problem getting solved quickly, where a person in one dept talks'to a person in
another dept and makes the right thing happen, people are forced to talk to their manager
who talks to their manager who talks to the manager in the other dept who talks to
someone on his team. Then the into has to flow back the other way again. This is
incredibly dumb. Any manager who allows this to happen~, let alone encourages it, will soon
find themselves working at another company No kidding.

ADVERT|S|NG

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EQ..°.Inc.

 

 

0 Rep|ay

Anyone at Tesla can and should email/talk to anyone else according to what they think is
the fastest way to solve a problem for the benefit of the whole company._ You can talk to
your manager`s manager'without his permission, you can talk directly to a VP in another
dept, you can talk to me,. you can talk to anyone without anyone else‘s pennission.
Moreover, you should consider yourself obligated to do so until the right thing happens
The point here is not random chitchat, but rather ensuring thatwe execute ultra-fast and
well-. We obviously cannot compete with the big car companies in size, so we must do so
with intelligence and agil'rty.

One final point is that managers should work hard to ensure that they are not creating silos
within the company that create anus vs. them mentality or impede communication in any
way. This is unfortunately a natural tendency and needs to he actively fought How can it
possibly help Tesla for depts to erect barriers between themselves or see their success as
relative within the company instead of collective'? We are all in the same boat Aliways view
yourself as working for the good of the company and never your dept.

Thanks,
Elon

|'m a huge fan~of the message this email communicates namely:
Communication that is forced to go through the "proper channels“ is a recipe for

~ killing great ideas;v and
~ burying the feedback a company needs to thrive.

There's only one problem with Musk's proposed solution:
lt‘s extremely difficult to cultivate in the real world.

Why Great Comm:uni

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§Q..°.mc.

 

 

departments work together) at Tesla? l have no idea.

However, l worked several years for a nonprofit that did exemplify this way of thinking lt was an
extremely mission-driven organization one in which nearly everyone bought into the philosophy
because they saw managers and executives walking the walk. (ln fact, it was a personal experience
there that inspired my very first column on |nc.com.) After leaving that organization and consulting for
dozens of others, l realized just how rare this type of workplace is.

So how do you build a company culture in which employees actually work together,v instead of against
one another?

Ask yourself the following:

0 Do l see the big picture in my organization? Does my team?

~ Do l encourage dissenting opinions and viewpoints? Do l reward employees for giving me
authentic feedback, even if l don't agree with it?

~ Do l demonstrate empath.y, by taking employees' problems seriously-and actively helping them
find solutions?

¢ Do l promote an environment that encourages growth, even if it means (at times) losing a great
employee to another team, another department-or even another company?

Of course, leaders have to set the example That means looking beyond individual achievements and
key performance indicators, which takes courage, insight, and emotional intelligence lt means making
yourself available to hear as many voices as possible

Above all, it means being ready to hear what employees really think

Because the first step to solving a problem is knowing it‘s there in the first place

 

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EXH|B|T D

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Crlstinn&alan

Fran dilame

Sent Fiiday, FelauaiyOZ 2014 ZIEPM

`l'o: CiistinaBalan

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From Doug’s message l think it’s safe to say it's approved!

 

From:DuugFleld

SsttFrle, FSF\EWG?, 2014 1:54PM

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‘fo: oming Fleld <gField@geslamotgrs.com>

Cc: Wi`lls Sweney <Wf»we§q @teslamotors.com>, Sam Tan <stan@slsmotors.,com>, Matdiew Gruss
<M@cw_bmlm;om>. dire Porritt <mzrott@;eiemeteesem>

SubiectFW: Fmdmemw$z®§?nmdscostcenter£zterioramrmnedfurapmwdbywius$wmw

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v

Doug, what‘s our policy on spending money on inwt;igate items before it is a continued direction?

am

ii l haven’t been involved in any discussions on this so l don't know what stage of development it is in

EU"

 

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EXH|B|T E

 

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EXHIB|T F

 

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Cl'istinahlan
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From: Dou’queld

Sent S\n'sdaY,Mard'\ZD,Zolli&Z'/PM

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EXH|B|T G

 

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Cristina Balan
M
From: Andrew Raczkowski

Sent: Tuesclay, September 24, 2013 4:26 PM

To: Cristina Balan

Subject: FW: RFQ - Model S Sill Piate

Attachments: TESLA Sept. 11, 2013.ppbc photo.jpg

We will look at this option next week after the base level is kicked off.

 

 

 

From: Chelsea Ramm

Sent: Wednesday, Sepwmber 11, 2013 8:41 AM
To: Andrew Raczkowsld; Peter Vlrth
Subject:FW: RFQ-Mmel$$llll’late

Th is looks cool

Chelsea Ramm | Purchasing Specia|ist
45500 Fremont B|vd l Fremont, CA 94538

cramm@teslamotors.cgm | c: 209-662-5015
- _
l ;": 5 L r*i

From: Dawn Shlrreffs |mai|;o:gshirrgffs@tasu§.@l
Sel'it: Wedne¢day, September 11, 2013 7:37 AM
To: Chelsea Ramm

C¢= 'l`OnY Cenl?ltf°'; yp_iie@@s§_s_.ga

Subject: RE: RFQ-ModelSSillPl

 

 

Chelsea,
l have attached a couple samples for your review. We can talk about them in our conference call.

Dawn Shirreffs

automotive program manager
TASUS Canada Corporatlon
decal and nameplate division
TEL' 905-560'-1337 x22
CELL 905-807-5728

-FAX: 905-578~6366
E-mail: dshirreffs@tasus.ca
URL: www.tasus.ca

 

Fl'°m= Dawn Shlrreff’$ [maillLdslm@@taea._cel
Sent: Wednesday, Semember 11, 2013 10:05 AM
To: 'Chelsea Ramm'

Cc ‘Tony Centrltto'; 'vpipe@tasus.ca'

Subject: RE: RFQ ~ Model S Sill Plate

 

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EXH|B|T H

 

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Cristina Balan
M
From: Andrew Raczkowski

Sent: Wednesday, October 2, 2013 2:42 PM

To: Vaughn Pipe; Chelsea Ramm; "Tony Centritto"; Peter Virth; Cristina Balan

Subject: RE A Pi-llar Sill Plate Meeting Notes 9-23

Cristina,

Could you please answer Vaughn’s questions?

Andrew

 

 

From: Vaughn Fipe [maiito: vpipe@tasus .m]

Sent: Friday, September 27, 2013 1 21 PM

To: Chelsea Ramm; "l'ony Centritto"; Andrew Raczkowsl<i; Peter Virl:h
Subjecl:: RE: A Piliar Sill Plate Meeting Notes 9~23

Good afternoon Che|sea,

Please see some comments below in red.

Vaughn Pipe
lntemational Sales & Marketing Manager

TASUS Canada Corporatlon
deed and nameplahe division

41A Brock|ey Drlve, Unit 1
Hamilton, On!arlo LBE 3C3 Canada
TEL' 905-560-1337 x16
CELL. 905-975-3122

FAX: 905-578-6366

E~mail: !gipe@;§sus.w
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From: Chelsea Ramm lmailto:cramm@teslamotors.com}
Sent: September-23-13 2:00 PM

To: vpige@tasus.ca', 'Tony Centritto' (tcentritto@tasus.ca); Andrew Raczkowski; Peter Virth
Sub}ect: A Plllar Sill Plate Meeting Notes 9»23

Meeting Notes
- Cailout is 30 Thousanths, standard is 22 thousandths, 22 is okay Actually now that we would be utilizing
brushed aluminum the thickness would be .8mm (.032”)
- Assumption is adhesive attachment Understood
- Surface to be brushed aluminum to match the rest of interior décor We will quote brushed aluminum as
requested

 

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From: Crislina Balan lmailto:CBalan@teslamotors.com]_
S¢nt: october-1043 430 PM

`l'o: Vaughn Pipe

Ccz Chelsea Ramm; ’Tony Centritto; Andrew Raczkowski
Sub}ect: A Pillar Sili Piate Meeting Notes 9~23

lmpomm: High
Hl Vaughn,

l arn the design engineer for the A-pillar sills base/illuminated.

We talked about it a lot in here and we end up with this design that l put in the pp attached l will also email you the cad data. You'll have
both versions in one step file you just have to hide and show.

We have to make a decision soon and we will like a date by when do you think we will have a quote for it and also a date for when we can
have some samples on site, one of each. We would also be open to see your propose ideas as a prototype.

Can you please look over our design and let me know your thoughts?

 

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EXH|B|T|

 

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AFFIDAVIT OF NGN~SERWCE

Case: Court: Coumy: ]ob:
2653341

Planm§l?eddonen Defendantl Respondem=
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Elon Musk ii

 

 

l, CarlosAbrego, being duly swom, depose and says iam overthe age of 18 years and not a party to this action,. and that within the
boundariesof the satewhere~sewice was effeded, lwas authorized by law to make service of theoocumentsand infommd said person
the contents herein

Radpiem Name l Address: Elon Musk, 10911- Chalon Road, Los Angeles. CA 90077

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Doiznrnents: Letter - intention to'Sue for Defamation - l.ibei (Received Sep 20, 2018at 1:18prn EDT)
Additional Coinmmts:

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cannotgain-access.

2) Unsuccessful Attempt: Sep 21, 201& 8:10 am PDT at 10911 Chaion Road, Los Angeles. CA 90077
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Cristina Balan
l (425) 205-0200

September 20, 2018 Cristina@tesseracunotorscom

VIA One Sonrce Process and E-»Mail
Mr. Elon Musk

1091 l Chalon Road

Los Angeles, CA 90077
Elon.musk@spacex.com

Re: ON TO SUE FOR DEFMATION ~ LIBEL
Dear Mr. Musk,

My name is Cristina Balan, I was a key player in the success of Tesla since early 2010. My
Reputation means a lot to me and for that reason I am writing to make you aware of my intentions to sue
Tesla Motors for defamatory statements made on Septembcr ll, 2017 in reply to an article about me
published in Huflington Post.

The statements made by the Tesla spokesperson, arc reckless false and defamatory which
constitutes clear libel. Among other things that were completely false, what hurt me the most is this
malicious statement “...Ms. Balan spent company time working on a “secretproject” and booked
an unapproved trip to New York at Tesla’s expense to visit a potential swplierfor her own personaHy-
created project”. This statement was clearly made with the intent to harm my reputation

Tesla’s legal department was well aware at the time this statement was made, that Ihad approval
at the highestlevel in Tesla ibt thispzry'ect: 3 Vice Presidents, starting with Doug Field and Rich Heley,
3 Directors and 4 Sr mangers; not to mention that a project of this level of complexity required me to had
the leadership of a team of more than 8 technicians and electrical engineers By the end of this project
where more than 300 emails between people mentioned above and other departments inside Tesla and
outside suppliers (the most important entails are attached here for your convenience).

You personally saw the end result of this so-called “secret project” - on April 2‘“" 2014 last stop
before leaving to the airport with Jim Dunlay, him, Doug Field, Rich Heley and myself showed you the
prototype of the electrochromic sun-visor and windows touch glass blinds installed on a demo model S.
You expressed your excitement and said, “See, this type of wow factor I wanted for Model X. Rich
[I-leley], I want a meeting with all of you to know more about this project next time I’ll be in Fremont”.
The meeting never took place, because I was forced out by your legal department after I told them that I
will give you evidence proving serious illegal activities which l believed were hidden from you, at that
time. I was told that if I care about my career and my family to destroy the evidence immediately and
never to contact you or let you know about the existence of those recordings I always wondered why the
legal counselor was concerned you might find out, but still I did not destroy them!

I always had my best intentions during my work at Tesla I saved over $2 million in my first 3
months in interiors group, by redesigning or by restructuring existing designs Also, for the battery
modules, my design methodologies implemented in 2010 are still use to date. I always advocated for your
vision of changing the world - on my private and public appearances even after I was forced to leave
Tesla, But as Warren Buffet said; “it takes 20 years to build a reputation and five minutes to ruin it.” and
I will not allow to be defamed the way I was, just because I believed in you and followed your ideas about
how to help the company innovations quality, safety and your brilliant rules on the chain of commands

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I hereby demand that Tesla immediately remove the note &om the Hufl"mgton Post_artiele and
apologize for the clearly malicious statements made about me. Their actions hurt me professionally and
emotionally., I welcome you in good faith to settle this out of the court and out of the pubhc eyes, by
proving that you are indeed a man of your word.

As you always expressed publicly that you are a different type of CEO, a during and fair one, I
welcome you to reach out to me in order to clear the defamatory image created about me by the statements
made by your regewnwdv®. Should you choose to ignore this request I will have no choice other than
to file a lawsuit in a court in the state of Washington which has jmisdiction over my case of defamation

Sincerely,

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